    Case 1:15-cv-07045-RMB-RWL Document 138 Filed 10/03/18 Page 1 of 5

                                                                              USDCSDNY
                                                                              DOCUMENT
                            UNITED STATES DISTRICT COURT
                                                                              ELECTRONICALLY FILED
                           SOUTHERN DISTRICT OF NEW YORK                      DOC#:----=--+-=--il--,-,,-.-
                                                                                            t)
                                                                              DATE FILED:--"--'"--f~~J--,:IE-

SECURITIES AND EXCHANGE COMMISSION,

                                     Plaintiff,
                                                             15 Civ. 7045 (RMB)
                          V.

ROSS B. SHAPIRO, MICHAEL A. GRAMINS, and
TYLER G. PETERS,

                                     Defendants.




     -fPROPOSEDj FINAL JUDGMENT AS TO DEFENDANT ROSS B. SHAPIRO

       The Securities and Exchange Commission having filed a Complaint and Defendant Ross

B. Shapiro having entered a general appearance; consented to the Court's jurisdiction over

Defendant and the subject matter of this action; consented to entry of this Final Judgment

without admitting or denying the allegations of the Complaint ( except as to jurisdiction and

except as otherwise provided herein in paragraph VI); waived findings of fact and conclusions of

law; and waived any right to appeal from this Final Judgment:

                                                   I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the "Exchange Act") [15 U.S.C. § 78j(b)] and Rule 106-5

promulgated thereunder [ 17 C.F .R. § 240 .106-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:
    Case 1:15-cv-07045-RMB-RWL Document 138 Filed 10/03/18 Page 2 of 5




       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65( d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section l 7(a) of the Securities Act of I 933

(the "Securities Act") [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or



                                                  2
    Case 1:15-cv-07045-RMB-RWL Document 138 Filed 10/03/18 Page 3 of 5




               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65( d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay a

civil penalty in the amount of $200,000.00 to the Securities and Exchange Commission pursuant

to Section 20(d) of the Securities Act, 15 U.S.C. §77t(d) and Section 2 l(d)(3) of the Exchange

Act, 15 U.S.C.§78u(d)(3). Defendant shall make this payment within 14 days after entry of this

Final Judgment.

       Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

cashier's check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; identifying Ross 8. Shapiro as a defendant in this action; and specifying that payment

is made pursuant to this Final Judgment.


                                                 3
     Case 1:15-cv-07045-RMB-RWL Document 138 Filed 10/03/18 Page 4 of 5




       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission's counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant

to this Final Judgment to the United States Treasury. Defendant shall pay post-judgment interest

on any delinquent amounts pursuant to 28 USC § 1961.

                                                      IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

                                                      V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(l 9) of the Bankruptcy Code, 11 U.S.C. §523(a)(l 9).

                                                      VI.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.




                                                  4
    Case 1:15-cv-07045-RMB-RWL Document 138 Filed 10/03/18 Page 5 of 5




                                                      VIII.

         There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


Dated:


                                               HON. RICHARD M. BERMAN
                                               UNITED STATES DISTRICT JUDGE
                                               UNITED STATES DISTRICT COURT FOR
                                               THE SOUTHERN DISTRICT OF NEW YORK




                                                  5
